                      Case 3:13-cr-00100-WKW-CSC Document 569 Filed 11/04/14 Page 1 of 6

AC) 2450          (Res 09/I1) Judgment iii a Criminal Case
'I                slicet I




                                              UNITED STATES DISTRICT COURT
                                                             MIDDLE DISTRICT OF ALABAMA

                  tJNITED STATES OF AMERICA                                                JUDGMENT IN A CRIMINAL CASE
                                       V.

                   WILLIAM ANTONE EDWARDS                                                  Case Number: 3:1 3crl 00-Of-WKW

                                                                                           USM Number: 14781-002

                                                                                           William Wayne Whatley
                                                                                           Dr landant a A ttUrIlav
THE DEFENDANT:
5^ )Icadcd guilty to count(s)               1 s of the Second Superseding Indictment on 04129/2014
      pleaded n10 coiitcndcrc 10 cOtitit(s)
      which was accepted by the court.

      was found guilty on count(s)
      a ft ci a plea ot' llol gui by.

 ftc defendant is adjudicated guilty of these olienses:

 i'iIle & Section                     Nature olOfierise                                                                 Oflensi Ended             Count

     18:371 and 7:2156                  Conspiracy to Sponsor, Exhibit, Buy, SO, Possess, Train or                       06/1l12013                iss

                                            Transport a Dog for Participation in an Animal Fighting Venture




F- Sce additioaal count(s) Oil page 2

           The defendant is sentenced as provided in pages 2 through 6 o( this judgment. The sentence is ii iposed pursuant to the
Sentencing Retorrn Act of I 9S4.
El The defendant has been found not guilty on count(s)

      Couiit(s)    us 17, 17s27s-28s29-30, 43sa, 53 ss-54ss       t         iIU dismissed on the motion ol he United tales.

         It is ordered that the defendant imsi: notify the United Yates attorney for this district within 30 da ys .'any change ofnanie, residence,
or mailing address until all fines, restitution, costs, and special tisesnieiiD iniposed b y this judgment tue u1Ii paid, tfordered to pay restitution,
the defendant must notifv the court and United States atturncv of material changes in ecniionhic cucurnstancis

                                                                               11/3/2014
                                                                                Date of' I m1tiis n loll iii Judgin I




                                                                                 *
                                                                               Sgmiature of Jud'


                                                                               W. KEITH WATKINS, CHIEF U.S. LSTRICT JUDGE
                                                                                Naiiia 0 .iinlge                                 Ciitc aiJudite



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                                                                                I )a I a
                      Case 3:13-cr-00100-WKW-CSC Document 569 Filed 11/04/14 Page 2 of 6

AU 245B           (Rev. 09/11) Judgment its a Crinsina! Case
vi                Sheet 2— Imprisonment

                                                                                                                            Judgment Page: 2 of 6
     DEFENDANT: WILLIAM ANTONE EDWARDS
     CASE NUMBER: 3:13crlOO-05-WKW


                                                                        IMPRISONMENT


              The defendant is hereby committed to the custody of iFe United Stales Bureau of Prisons to he imprisoned for a
     total term of:
      12 Months and 1 Day




               The court makes the hollowing recommendations to the Bureau of Prisons:

         The Court recommends that defendant be designated to a facility where mental health treatmen I is available and where he
         may be assessed for traumatic brain injury.



           U The detndant is remanded to the custody of the United Stales Marshal.

           U The defendant shall surrender to the United Stales Marshal for this district:

               U at -------                                    U u.ni       U pm        on

               U as notified by the United Stales Marshal,
               The defendant shall surrender hr service of sentence at the institution designated by the Bureau of Prisons:

                    before 2:00 PM on                           1/13/2015

               U as notified by the United States Marshal.

               U as notified by the Probation or Pretrial SeN ices Oltice.

                                                                              RETURN

     I have eeeuied this j udgniertt as 1l lows:




               Defendant delivered on                                                               It;

     a                                                           with a certified copy of this judgment.



                                                                                                              UNITED STA' ES MARSHAL


                                                                                     B y-
                                                                                                           DEPUTY UNITED TATES MARS] hAl.
                      Case 3:13-cr-00100-WKW-CSC Document 569 Filed 11/04/14 Page 3 of 6

AC) 2451)          (Rev 09/11) Jud g ment in a CirnnaI Case
V1                 Sheet) - Supervised Release

                                                                                                                              Judgment Page: 3 of 6
 DEFENDANT: WILLIAM ANTONE EDWARDS
 CASE NUMBER: 3:13crlOO-05-WKW
                                                              SUPERVISED RELEASE
     Upon release fi'OLlI imprisonment, the defendani shall be on supervised release for a term of
     3 Years


              [he defendani must report to the probation office in the dfstrict to which the defendant is released "vithin 72 hours of release from the
     custody of the Bureau of Prisons.
 The defendant shall not commit another l'ederal, stale or local crime.
  [he defendant shall not unlawfully possess a controlled substance. The defendant shall refrain fromany u lawful use of a controlled
 substance. The detendant shall submit to one drug test.within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
            The above dru g testing condition is suspended, based on the court's determination that the defendant poses a low risk of
            future substance abuse. (Check. jappif table.)

            The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous wulpon. (Check, J'uppIicabe.)

            The defendant shall cooperate in the collection of DNA as dirccied by the probation officer. (Chect, pphcahle)

            '[he defendant shall comply wIth the requirements of' the Sex Ofl'ender Registration and Notification Act (42 U.S.C. § 16901, e seq.)
 L          as directed by the probation officer. the Bureau ol' Prisons, or any state sex o 'fender re g istration agency in which he or she resides,
            works, is a student, or was convicted ON qualify ing offense. (('heck, fapphcahfr)

 L          The defendant shall participate in ail            program for domestic violence. (Check, (f'applicahfe.)

         Ii this judgment imposes a ('inc or restitution, ii is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet or this judgment.
           The defendant must comply with the standard condItions that hae been adopted by this court as w, : 11 as with any additional conditions
 on the attached page.

                                              STANDARD CONDITIONS OF SUPERVISION
       1)    the defendant shall not leave the judicial district without the permission of the court or probation oIl ieer:
       2)    the de l'endam shall report to the probation officer in a manner and frequency directed by the court or probation officer,
       3)    the defendant shall answer truthfully all inquiries b y the probation officer and follow the instruction:: of the probation officer;
       4)    the defendant shall support his or her dependents and meet other family responsibilities:
       5)    the defendant shall work regularly at a lavsful occupation, unless excused by the probation officer fc - schooling, [raining, or other
             acceptable reasons:
       6)    the defendant shall noti l'y the probation officer at least ten days prior to any change in residence or e Ilploynlent;
       7)    the defendant shall refrain from excessive use at' alcohol and shall not purchase, possess, use, distribute, or administer any
             controlled suhstance or an paraphernalia related to an y controlled substances, except as presci'ihed y a physician;
       8)    the defendant shall not frequent places where controlled substances are illegally sold, used. distributed, or administered:
      9)     the defendant shall not associate with any persons encwed in criminal activit y and shall not assoejat': with any person convicted of a
             felony, unless granted permission to do SO by the praaLion otticer;
     10)     the det'endant shall permit a probation officer to visit him or her at any lime at home or elsewhere and shall permit confiscation ofany
             contraband observed in plain view ol the probation otlicci';
     11)     the defendant shall notif y the probation olficer within seventy-two hours of being arrested or questioned by a law enforeennt officer:
     12)     the del'endant shall not enter into any agrecniern to act as an informer or a special agent of a law enf rcerintit agency without the
             permission of the court; and

     13)     as directed by the probation officer, the defendant shall notif y third parties of risks that may he occasi 'ned b y the defendant's criminal
             record or personal history or characteristics and shall pei'm it the probation ollicer to make such notif' :ations and to confirm the
             defendant s compliance with such notification i'CLlUirL'nleflt.
              Case 3:13-cr-00100-WKW-CSC Document 569 Filed 11/04/14 Page 4 of 6

AO 245 13         09/I I)JAILTIM111 ai a Criminal
                                              ia1 Case
             SkCt iC - LiI)Lrv ised ReIeus


 DEFENDANT: WILLIAM ANTONE EDWARDS                                                                        Judgment Page: 4 of 6
 CASE NUMBER: 3:13cr100-05-WKW

                                             SPECIAL CONDITIONS OF SUPERVISION

   Defendant shall submit to a search of his person, residence, office or vehicle pursuant to the search policy of this court.

   Defendant shall not possess a dog during his period of supervised release.
                  Case 3:13-cr-00100-WKW-CSC Document 569 Filed 11/04/14 Page 5 of 6

AO 24515       tRcv. 091 I) .Ttidgmciii n a Criminal Case
VI             Shea 5 - criminal Mo il cuiry Penalties

                                                                                                                           Judgment Page: 5 of 6
     DEFENDANT: WILLIAM ANTONE EDWARDS
     CASE NUMBER: 3:13cr100-05-WKW
                                                   CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penaldes under the schedule of payments on She(. 6,


                         Assessment                                             Fine                             Restitution
 TOTALS                  100.00                                             $                                  $ $0.00



       The determination of restitution is delerred until 21312015                 An Amended Judgment in a (rim/rn, Case (.40 245C) will he entered
       after such determination.

        ['he defendant must make restitution (includin g communit y res(itLilion) to the ftdlowing payees in the mount listed below.

       lithe defendant makes a partial payment, each pa yee shall receive an approximately proportioned payiiient, unless specified otherwise in
       the priorily or or percentage payment column bclow. I lowcver, pursuant to 18 U.S.C. § 3664(1), allnonfedcral victims must be paid
                  der
       before the United Slates is paid.

 Name of Payee                                                          Total Loss*                Restitution Orderi:d Priority or Pereenta2e




 TOTALS                                                                                    $0.00                   $0.00



 Eli    Restitution amount ordered pursuant to plea agreement $

         [he defendant must pay interest on restitution and a i/ne of more than 82,500. unless the restitution or line is paid in full before the
        fifteenth day after the date of the judgment. pursuant to 18 U.S.C. § 3612(t). All of the payment opt-ions on Sheet 6 may he subject
        tO penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

       The court determined that the defendant does not have the ahi hEy to pay interest and it is ordered that:

            the interest requirement is waived for the               line       E restitution.
       El the interest requirement for the                  fine   F1 restitution is modified as follows:



* Findings for the total armuni of losses are required under Chailers 109A, 110. [IDA. and 113A of Title 18 .-w offenses committed on or after
September 13, 1994, but bettire April 23, 1996.
                       Case 3:13-cr-00100-WKW-CSC Document 569 Filed 11/04/14 Page 6 of 6


AU 24 513           (Rev. 0911) Judgmenl in a Criminal Case
vi                Sheer (     Schedule at Payments

                               Judgment Pa g e: 6 of 6
 DEFENDANT: WILLiAM ANTONE EDWARDS
 CASE NUMBER: 3:13crlOO-05-WKW


                                                                SCHEDULE OF PAYMENTS

 having assessed the defendant's ability to pay, payment ol , the total criminal monetary penalties is due as l.)llows:

 A     V Lump sum payment of$ 100.00                                      due immediately, balance due

                       not later than                                          or
                       in accordance           fl C,              I),    fl    F, or          F hclo; or

 B     ü Payment to begin immediately (may he combined with                              C.        fl D, or        F below) Cr

 C     Fj Payment in equal -                                  (e g wee/Jr. inoiuh/v, /uorier/,v) installments of                            over a period of
                -                (c g.. lnoo/hs orvears), to commence                 -        (a g 30 a;' 60 dow) alter ihc dat. of this judgment; or

 I)    U Payment in equal                                     (e.g., week/; niun/i;/, qnorier/y) installments of $             -           over a period of
            -                    (a g., monihs o;' years). to eonsnencc             --      -- (e.g., 30 or 60 days) alter release &om imprisonment to a
                term ol supervision; or

 E     F1 Payment during the term of superiscd release will commence within                    (e.g.. 30 or (0 days) after release from
                                                                       l            OIL
           imprisonment. The court will set the payment plan based o i   assessment     the defendant's ability to pay at that time or

 F              Special instructions regarding the payment ol'criminal monetary penalties:

                All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of Alabama, Post
                Office Box 711, Montgomery, Alabama 36)01.




 Unless the court has expressly ordered otherwise, if ihisudem enl imposes imprisonment, payment of crinin. I monetary penalties is due during
 imprisonment. All crimnal monetary penalties, except those pa y ments made through the Federal Bureau 01 Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previousI maLic toward any criminal monetary penalties imposed.




 LI    Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (;ndur/iog de/'nd.on/ nionber, l'oial Amount, Joint and Several Amount,
       and corresponding payee. it' appropriate.




LI     ']'he defendant shall pay the cost of prosecution.

LI      [he defendant shalt pay the lhllowing court cost(s):

LI     the defendant shall forfeit the defendant's interest in the ftdlooing property to the United Slates:




Payments shall he applied in the following order: (I) assessment. (2) restitution principal, (3) restitution inter, SI. (4) fine principal,
(5) tine interest. (6) community restitution, (7) penalties, and (l) costs, including cost of' prosecution and cour. costs.
